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                                                                                                                                  JS-3/ent
                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 16-431-JFW

 Defendant          Michael Quinn [73518-112]                               Social Security No. N         O   N      E
 akas:    Mick; inhere; southof                                             (Last 4 digits)

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                              MONTH         DAY   YEAR
         In the presence of the attorney for the government, the defendant appeared in person on this date.       October   31     2016


  COUNSEL          Lisa Shinar LaBarre, DFPD
                   (Name of Counsel)

     PLEA           x GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                              CONTENDERE           GUILTY
  FINDING          There being a finding of GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Travel with Intent to Engage in Illicit Sexual Conduct in violation of 18 U.S.C. § 2423 (b) as charged in
                   Count 1 of the Two-Count Indictment filed on June 17, 2016
JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/          sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty
  COMM
  ORDER
                   as charged and convicted and ordered that:

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Michael Quinn, is
hereby committed on Count 1 of the Indictment to the custody of the Bureau of Prisons for a term of 144 months.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for life under the following terms
and conditions:

General Conditions and Drug Testing and Treatment

          1.       The defendant shall comply with the rules and regulations of the United States Probation Office,
                   General Order 05-02, and General Order 01-05, including the three special conditions delineated in
                   General Order 01-05.

          2.       The defendant shall not commit any violation of local, state, or federal law or ordinance.

          3.       During the period of community supervision, the defendant shall pay the special assessment in
                   accordance with this judgment's orders pertaining to such payment.

          4.       The defendant shall cooperate in the collection of a DNA sample from the defendant.


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         5.          The defendant shall comply with the immigration rules and regulations of the United States, and if
                     deported from this country, either voluntarily or involuntarily, not reenter the United States illegally.
                     The defendant is not required to report to the Probation Office while residing outside of the United
                     States; however, within 72 hours of release from any custody or any reentry to the United States during
                     the period of Court-ordered supervision, the defendant shall report for instructions to the United States
                     Probation Office located at: the United States Court House, 312 North Spring Street, Room 600, Los
                     Angeles, California 90012.

         6.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
                     to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
                      thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         7.          The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                     includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The
                     defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription medications
                     during the period of supervision.

         8.          During the course of supervision, the Probation Officer, with the agreement of the defendant and
                     defense counsel, may place the defendant in a residential drug treatment program approved by the
                     United States Probation Office for treatment of narcotic addiction or drug dependency, which may
                     include counseling and testing, to determine if the defendant has reverted to the use of drugs, and the
                     defendant shall reside in the treatment program until discharged by the Program Director and Probation
                     Officer.

         9.          As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
                     treatment to the aftercare contractors during the period of community supervision, pursuant to 18 U.S.C.
                     § 3672. The defendant shall provide payment and proof of payment as directed by the Probation Officer.

Computer Restrictions

         10.         The defendant shall possess and use only those computers and computer-related devices, screen user
                     names, passwords, email accounts, and internet service providers (ISPs), which have been disclosed to
                     the Probation Officer upon commencement of supervision. Any changes or additions are to be disclosed
                     to the Probation Officer prior to the first use. Computers and computer-related devices include are
                     personal computers, personal data assistants (PDAs), internet appliances, electronic games, cellular
                     telephones, and digital storage media, as well as their peripheral equipment, that can access, or can be
                     modified to access, the internet, electronic bulletin boards, and other computers.

         11.         All computers, computer-related devices, and their peripheral equipment, used by the defendant, shall be
                     subject to search and seizure. This shall not apply to items used at the defendant's site of employment
                     which are maintained and monitored by the employer.

         12.         The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
                     defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per
                     month per device connected to the internet.




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Sex Offender Conditions

         13.         The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction
                     where he resides, where he is an employee, and where he is a student, to the extent the registration
                     procedures have been established in each jurisdiction. When registering for the first time, the defendant
                     shall also register in the jurisdiction in which the conviction occurred if different from his jurisdiction of
                     residence. The defendant shall provide proof of registration to the Probation Officer within three days of
                     release from imprisonment.

         14.         The defendant shall participate in a psychological counseling and/or psychiatric treatment and/or sex
                     offender treatment program, as approved and directed by the Probation Officer. The defendant shall
                     abide by all rules, requirements, and conditions of such program, including submission to risk
                     assessment evaluations and physiological testing, such as polygraph and Abel testing. The Probation
                     Officer shall disclose the presentence report or any previous mental health evaluations or reports to the
                     treatment provider.

         15.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the
                     defendant's psychological/psychiatric disorder(s) to the aftercare contractor during the period of
                     community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall provide payment and proof
                     of payment as directed by the Probation Officer.

         16.         The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                     drawings, videos, or video games depicting and/or describing sexually explicit conduct as defined at 18
                     U.S.C. § 2256(2).

         17.         The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                     drawings, videos, or video games depicting and/or describing child pornography, as defined at 18 U.S.C.
                     § 2256(8); This condition does not prohibit the defendant from possessing materials solely because they
                     are necessary to, and used for, a collateral attack, nor does it prohibit his from possessing materials
                     prepared and used for the purposes of his Court-mandated sex offender treatment, when the defendant's
                     treatment provider or the Probation Officer has approved of his possession of the materials in advance.

         18.         The defendant shall not frequent or loiter within 100 feet of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcades facilities, or other places primarily used by persons under the
                     age of 18, unless the defendant receives written permission from the Probation Officer.

         19.         The defendant shall not associate or have verbal, written, telephonic, or electronic communication with
                     any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor;
                     and (b) on the condition that the defendant notify said parent or legal guardian of conviction in the
                     instant offense. This provision does not encompass persons under the age of 18, such as waiters,
                     cashiers, ticket vendors, etc., with whom the defendant must deal with in order to obtain ordinary and
                     usual commercial services.

         20.         The defendant shall not affiliate with, own, control, volunteer and/or be employed in any capacity by a
                     business and/or organization that causes him to regularly contact persons under the age of 18, without
                     the prior approval of the Probation Office.



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         21.         The defendant shall not affiliate with, own, control, and/or be employed in any capacity by a business
                     whose principal product is the production and/or selling of materials depicting and/or descriging
                     “sexually explicit conduct," as defined at 18 U.S.C. § 2256(2).

         22.         The defendant shall not own, use or have access to the services of any commercial mail-receiving
                     agency, nor shall he open or maintain a post office box without the prior written approval of the
                     Probation Officer.

         23.         The defendant's employment shall be approved by the Probation Officer, and any change in
                     employment must be pre-approved by the Probation Officer. The defendant shall submit the name
                     and address of the proposed employer to the Probation Officer at least ten days prior to any scheduled
                     change.

         24.         The defendant shall not reside within direct view of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcade facilities, or other under the age of 18. The defendant's
                     residence shall be approved by the Probation Officer, and any change in residence must be pre-approved
                     by the Probation Officer. The defendant shall submit the address of the proposed residence to the
                     Probation Officer at least 10 prior to any scheduled move.

Search Condition

         25.         The defendant shall submit his person, and any property, house, residence, vehicle, papers, computer,
                     other electronic communication or data storage devices or media, and his effects to search at any time,
                     with or without warrant, by any law enforcement or Probation Officer with reasonable suspicion
                     concerning a violation of a condition of supervised release or unlawful conduct by the defendant, and by
                     any Probation Officer in the lawful discharge of the officer's supervision functions.

The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider
to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the
Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment at the rate of not less than $25 per quarter pursuant
to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to USSG §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable
to pay and is not likely to become able to pay any fine.

The special assessment pursuant to the Justice for Victims of Trafficking Act of 2015 is waived as the Court finds that
the defendant has established that he is unable to pay and is not likely to become able to pay the special assessment.

The Court recommends that the defendant be placed in a facility where he can participate in the Sex Offender
Treatment Program.
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The Court recommends that the defendant be placed in the 500 hour drug treatment program (RDAP) while in the
custody of the Bureau of Prisons.

Defendant informed of right to appeal.

On the Government’s Motion, the Court orders Count 2 dismissed.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 31, 2016
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Kiry Gray, Clerk Clerk, U.S. District Court



            October 31, 2016                                By    Shannon Reilly /s/
            Filed Date                                            Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on

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 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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